Case 2:05-CV-02382-.]DB-STA Document 31 Filed 08/31/05 Page 1_ of 3 Page|D 21

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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Plaintiff, t f~" t,-.:;'-"¢.¢FJH:S

v. No. 05-2382-B/An
NATIONAL BANK OF COMMERCE,
Defendant/Third-Paity Plaintiff,
v.
SPECIALTY FOODS, LLC, and PAUL T. CAPPS,

Third-Party Defendant.

 

ORI)ER OF REFERENCE

 

Before the court is Defendant/Third-Party Plaintiff National Bank of Cornrnerce’s Motion
for Default Judgment Against Third-Party Defendants, Specialty Foods, LLC and Paul T. Capps
filed on August 29, 20054.

This matter is hereby referred to the United States Magistrate Judge for a hearing on
damages and for a report and recommendation in order to enable this court to enter a default
judgment. §§ Rule 55(b)(2), Fedcral Rules of Civil Procedure. Any objections to the
magistrate judge’s report and recommendation shall be made within ten (10) days after service
of the report, setting forth particularly those portions of the report objected to and the reasons
for the objections. Failure to timely assign as error a defect in the magistrate judge’s report will

constitute a waiver of that objection S_eg Rule 72(a), Federal Rules of Civil Procedure.

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IT rs So 0RDERED this 31 day of August, 2005.

 

 

J. DANIEL BREEN \
Nrr D srATEs DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

